

People v Magin (2021 NY Slip Op 05258)





People v Magin


2021 NY Slip Op 05258


Decided on October 1, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 1, 2021

PRESENT: SMITH, J.P., LINDLEY, NEMOYER, CURRAN, AND DEJOSEPH, JJ. (Filed Oct. 1, 2021.) 


MOTION NO. (706/17) KA 13-01187.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vERIC A. MAGIN, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for reargument denied and motion for leave to the Court of Appeals held for determination by a Justice of this Court.








